IN THE UNITED STATES DistercT Covgr
FoR, THE Midd [e Uishniet, |

 

 

OYE H.KIRKP PER CK

 

 

 

 

 

- — Plantice Rewer 2 (1900693
ALAMANCE COUNTY DETENT. TON > AmeNDEp
CENTER, éf Al J compl AL Nt

 

DeCend ants >

 

Plain eek Cove H. Kiekp nt: dc Compl a: Ns that his Rights
UWJAS iia data With be: WN placed i iN Alamance County
detention Cente, DefE Nt oN Center inl wh: Sy Terry | Tahalconl
both defendants iN this cAse.Teray Johnson, heAd sheakG
whe 1S Responsible For the over-all RUN of shid CEN TtER,
Act: ‘Nig uN dcr ColoR of sthte Plaintife Rights Urelated, Rights
quaRanteed by the Sth MMendment, Centain human Rights
WAS violated | wheRe AS PIATNE LE was Forced te live gf
TN: human over: CRowded Conditions. Tht Alamanec
Count. | Detent oN Cs4il) undee TeRry Johnson Responts: btity
Knleto of CoNditoNs ANd did Nothi ing fo *MPRoVE. —_
Hlanti€e Coye He A eK pate: ck WAS nerested (ON ok About
December 3°, 20(8 oN several clevg charges. Maintaee was
Placed vNdeR #500, 006 fond tw which MAdE imposs‘Ae
Con Flan tht? te make hod. Plaintf€ was PIACE IN A ovee-
CRowded cell block, block built fo held 40 PRisoNee my a
There was $S te 60 pa; soNces Aad been Pvt there. About 20
PRISONERS Slept oN the flooe, Plain tif€ was forced to sleep

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on £ lvoe. All bunKs had been taken py PRisonee that had
been thee lon gest oR youNGeR ANA Staong eg. The CoN cliftionys
iN blocks WAs Not Ft Fo@ humans cf AN MAlS Poor

vent labo, afi ciety ANd No Room For RECREATION.

 

 

OR a. befoae Phone Comes on, There 15 No heck oR | aie oe

SNks, tolet and Showe 2s nec Nevee cleaned PRepealy

PRisonens has developed Rashes and bumps. Prisoneg pay fA Rew

A little water yust So the Tv ANd Phone Will be ToeWed on.

_ Si inks, borlets Abld showers Are Exteemel y_ Se leg, Nasty aNd.
melled feels and vRINE. Pooe venti lat: on block ext_emely

told. ¢ Gutky one | Coughi Ng ANd SNEEzZ NG. ‘TSiNce TAERE Aas SEEN |
been AN A bad ovt becat, ClusteR of Couid 19]

The Seed is NoN- Nufe etrovs, AlwAay Cold ANd seRvéd Onl
di ety, UNSAN Hoey tRays. The teny often havc traces of what was
scved PReviovs méals. [he Gael, 15 Net Pkoptely Prepaiged, Cold
Not A balanced det. OffEeN No Mentis seaved, [KE SpAgeH: oR
Noodles with No meat. ANd most of the Hime Tust one sh'ce  _
of bRend. a oe

Plante, ke the Rest of the PRisonies Aec all lowed to PeeRchase
CANTEEN oNCE voeek ly, PRICES ARE Rdaylovs, A Pack of Roman _
Noodle is H/-06, whi ch | oH gRoceey stoees sells foe Aboot 20h,
PAinNti€C Could only Pekchase vider clothes ANd cosmttic AR.
iNSANE PRICES: No other Why te yeh these Th. N¢s bo¢ the Detentoy —

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Conten Canteen, |
Plante was house with Federal inmates (prisoners) Req nedless
of charges, Plant €F, all ofhea state PRisonlees is Place iN A Cell.
block teqehed with Fedcanl Paisonees Theee ARE Offer! fights
because of the TENS on, The oldég and a ae ARE

 

 

 

to onewde fi thes ‘Sao habetanes Aq A: oe Awd A a Wl pelea ar
ARE here AwAiting Teal ANd scrltenc ae hou Sta oN The
SAME whg_Dleck “wi ith STATE PRSoHERS.

 

his hef fol tlgs | that he whs bein bea Cepeed to > ANNex, wh aA
1S A pret of RlamANce County Detenti on Centeg Ga) ) This ANNEX
-§$ A svhsid: Moy located At Ctd Geahan, N.C. Te sen UNI. Has NTE
was TRAN feRREd There , WheRe As honk Ae VERY close wrth Mold |
aNd Rustin the blocks, Pai iN FEC steyed ThERE Foe Almost 6° days.
While theee ce day, upon CANTEEN onder Planitil? ordered Caytecnl
While Picking up b's CANTEEN, Plante Notice Coffee WAS MSSNG _
“Rom older. OFFICER Henderson, OFFER with Alamance County
Detention Center Henderson insteoctéed Plaintitt te qo Nhead
Sign TR Nis cader. He, Hendersen woofd MAKE Suee he, PlaNTEC
wou! Id get his Coffer. OF CER Hentdenson Stated ; Yo of May weed,
You will get your CofPee today.” That day Passed Ait Mest of thé
next day when PIA NHEC CoNfeomfed Henderson Aboot his coffee.
Hendeasot WAS Ueey d*sReGPecthol , told Plante to quit pski no

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yan and 7! = lavniti££ was taken back fo eld sail and paced on

jock: vp, G - Block. Pla. Nt fC stayed oN [oc k- “UP FoR APPROK' mately

 

one week, Plant fe was taken oF fock- up ANd “PlantiCe Was
Blimaee te Peach’ o a ae fF RIGS sete ie NEC

 

 

 

ON duty, aenantt ANd fevteninurt All Te what ane veh
Nothing wasdone Absut tt. Plawti ff was moved agai, back
to oni ginal block Where as violations Conti Noed. —

fee re met that Avs ath. pmmeie men to the ont

 

 

 

 

 

 

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su tered iN-priRable damage. PiniNh EF PRAY that ThebA50, o6 ©
ReleF Requested be nwardeéd.

Plank FoetheR PRAY that Covet decide complain on meats
Ply REE 1S A [ay Man At [aw ANd has Limited Knowledge of fedéga/
Rules of Cruil PRocedy Re.

~The Alamand Coon Fy Dete;/ tio Center ERIN whi rl ferry Johson
hend Sheait? wAs in Geet. TeRRy JoANSoN WAS SWORN te UPhold
(aw, As Well As tea ANd PREPARE ALI All otheR sheeitt iN Sard cenfee.

These Defendant mos ¢t be held [: Able

 

 

 

 

 

 

 

 

 

 

 

: as HH. Kiekp ate ck, Sept. (6, 5026
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